Petition filed October 16, 1944, for construction of the last will and testament of Frank M. Britt, deceased.  This appeal from a judgment entered June 14, 1946, is by executors and certain beneficiaries; Winifred Coon, Lucy Tefft, Gertrude Crandall, and Willard P. McDermott, guardian ad litem
of Mary Jane Seaman and Joan Seaman, minors.
Frank M. Britt died testate August 28, 1943.  He was survived by three married daughters, two sons, Walter and LeRoy Britt, and two grandchildren, children of a deceased daughter.  Britt, a sole trader, had owned and operated a retail coal business known as "F. M. Britt Coal Company," in Janesville, Wisconsin.  He had also accumulated substantial real-estate holdings.  The inventory of his estate showed real estate valued at $31,830 and personal property amounting to $55,810.82.
Among the personal assets was a checking account in the Merchants  Savings Bank of Janesville, Wisconsin, carried in the name of "F. M. Britt Coal Company" and containing $15,586.69 at the time of the testator's death.  The bookkeeper made deposits for the coal company in this account and wrote checks against the account to pay expenses of the company.
The testator had two other bank accounts.  One was a checking account in the Rock County National Bank in the name of "F. M. Britt Coal Company," amounting to $1,377.90; the other, a savings account in the Rock County Savings  Trust Company under the name of "Frank M. Britt."  The checking account in the Rock County National *Page 604 
Bank, although in the name of the coal company, was used for real-estate transactions.  The accounts receivable on the books of the coal company at the time of the testator's death totaled $24,704.61.
The will provided that the homestead be given to his son LeRoy Britt and wife, and that all the rest of his property be given to the Rock County Savings  Trust Company and Winifred Coon, as trustees, to be managed by them for a period of ten years in accordance with certain specified uses and purposes.  Those uses and purposes enumerated in the will which have a bearing on this action are set forth below:
"Fourth:  All the rest, residue and remainder of my property, of whatever kind or nature, and wherever situated, I give, devise and bequeath to the Rock County Savings 
Trust Company of Janesville, Wisconsin, and Winifred Coon, as trustees, for the following uses and purposes:
"(1) It is my will that the business now conducted in the city of Janesville, Rock county, Wisconsin, by me under the name of F. M. Britt Coal Company, be conducted and operated from the time of my death for a period of ten years by my said trustees;
"(2) The said trustees shall have full charge, control and management of said business in conjunction with my sons, Walter J. Britt and LeRoy Britt;
"(3) It is my will that my sons, Walter J. Britt and LeRoy Britt, shall continue in said business, in active charge thereof, and as managers thereof, in conjunction with my said trustees, and that my said sons shall be paid for their services such salaries as shall be agreed upon between themselves and my said trustees with the approval of the county court of Rock county, Wisconsin;
"(4) I further direct that the net earnings of my said business shall be held intact and shall be invested and reinvested in such interest-bearing securities as are approved by the laws of the state of Wisconsin for the investment of trust funds, or may be, if it shall appear advantageous, invested in real estate, and shall be accumulated during said period of ten years;
"(5) At the end of said ten-year period, it is my will and I give and bequeath to my son Walter J. Britt, the sum of *Page 605 
twenty-five hundred dollars ($2,500) to be paid from the earnings and from said business, and I give and bequeath to my son, LeRoy Britt, the sum of twenty-five hundred dollars ($2,500) to be paid from the earnings of and from said business; said payments may be made in cash or securities, or real estate, at the option and election of said Walter J. Britt and LeRoy Britt;
"(6) At the end of said ten-year period, it is my will and I direct that the trust herein created as to said business shall terminate and cease, and my said trustees are hereby authorized and directed to convey and transfer all of said business, together with the land upon which said business is situated, together with all equipment thereof, and all equipment which said trustees may have purchased for the proper operation of said business, together with all earnings, accounts receivable, and any and all other property belonging to said business, except the sum of five thousand dollars ($5,000) hereinbefore mentioned, to my sons, Walter J. Britt and LeRoy Britt, to each of them equally, and I give, devise and bequeath to my said sons, Walter J. Britt and LeRoy Britt, to each of them an undivided one-half, share and share alike, the said business together with the land upon which said business is situated and all equipment, machinery and other property belonging thereto or appurtenant thereto or a part thereof;
"(7) I direct that as to all other property devised by me to my said trustees, that the same shall be held by my said trustees, rented, repaired and conducted in an advantageous manner for my estate, and I give unto my said trustees full power and authority to sell any or all of the real estate belonging to said trustees, other than the said coalyards, at any time that a sale thereof may be deemed advantageous and to the best interests of my said estate, subject however to the approval of the county court of Rock county, Wisconsin;
"(8) I direct that the income from said trust, other than that derived from my said business, shall be kept intact and shall be invested and reinvested in such interest-bearing securities as are approved by the laws of the state of Wisconsin for the investment of trust funds, or in real estate if it shall appear at the time to be more advantageous for investment, and that my said trustees shall annually, subject to the approval of the county court of Rock county, Wisconsin, distribute of said income the following amounts:  To my daughters, *Page 606 
Lucy Tefft, Gertrude Crandall, Winifred Coon, the sum of two hundred fifty dollars ($250) each; . . .
"(10) I direct that at the end of ten years from the date of my death, the said trust shall terminate and all trust property, together with any and all accumulations thereon that have not theretofore been distributed, shall be paid or transferred by my said trustees as follows:"  (To each of his children an undivided one-sixth part thereof, and to the two grandchildren, an undivided one sixth thereof, share and share alike.)
By the trial court's decision the accounts receivable and the checking account in the Merchants  Savings Bank of Janesville, Wisconsin, at the time of the testator's death are decreed to be a part of the "coal business" which is to be operated by the trustees for ten years and then conveyed by them to the two sons.  The question thus raised is whether these items are to be included and considered as a part of the "coal business" which had been carried on during the lifetime of the testator under the name of "F. M. Britt Coal Company" or as a part of the general estate.
The term, "business," does not mean everything that a proprietor of a going concern may own at the time he disposes of it, even though it may be possible to trace some connection arising out of the operation of the business.  The question of *Page 607 
what is included when the term "business" is used has been a source of some litigation, and a great variety of meanings appear from the cases in which that term has been considered as well as in texts by writers who have given some attention to questions which may arise from the use of the term.  The word "business" varies from mere good will to an inclusion of other and more substantial elements.  It has never become fixed and definite enough to carry the same meaning in every instance.  The cases reviewed leave it to the context of the instrument in which the term occurs or other circumstances indicating an intention as to what is to be included or excluded.
In examining a will to discover a purpose, it is well to proceed in the reading of it as if the language is unambiguous.Benner v. Mauer (1907), 133 Wis. 325, 330, 113 N.W. 663,665.  In that case and others following it the doctrine is expressed that if, taking the will as a whole in the light of the subjects with which it deals, its meaning is plain, there is no legitimate room for judicial construction.  As was said inWill of Stephens (1931), 206 Wis. 16, 19, 238 N.W. 900,902:  "But we must look to the language of the whole will and read it in the light of the circumstances surrounding the testator, in order to discover what was apparently in his mind at the time he made it, and thus ascertain his intention."
Here the testator has created a trust.  The trustees are charged with the duty of carrying on all his affairs.  They take his place in the control of his estate subject to the direction contained in the will.  They are to conduct the coal business as well as manage the rest of his estate, keeping the netprofit from the operation of the coal business intact, as well as the net profit from the balance of the estate.  By the trust arrangement he extends his business operation ten years. There are two sources of income to be considered, the coal business and all the other property, but these made up the estate treated with in the will.  If money is used from the *Page 608 
"other property" accommodation must be made so that the net income of each section may be fairly ascertained.  In other words, there must be a plan of accommodation between the two sections or funds followed in the discharge of administration of the trust, which will accommodate itself to the benefit of the "business" and the "other property" so that the net income of the business may be fairly ascertained.  There is no room for a construction resulting in separating any cash or evidences of debt from the estate.
All his property, except his homestead "of whatever kind or nature, and wherever situated," he did "give, devise and bequeath to" the trustees for the certain uses and purposes set forth in the will.
A reading of the terms of the will with reference to the conduct of the coal business and the management of the balance of his estate by the trustees tells the obligation the testator has placed upon his trustees.  He gives them his entire estate in trust and they are to transfer and assign his property in accordance with the terms of the will at the end of the ten-year period.
We do not deal further with the questions referred to in the briefs of counsel relating to the construction of the terms of the trust.  It is well established that a court will not instruct a trustee as to questions which may never arise.  Restatement, 2 Trusts, p. 806, sec. 259 (c).  See also 2 Scott, Trusts, p. 1466, sec. 259, and cases cited; Will of Grotenrath (1934),215 Wis. 381, 254 N.W. 631.
By the Court. — Judgment reversed.  Cause remanded for further proceedings in accordance with this opinion.
The following opinion was filed February 17, 1947: